IN THE UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

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Philadelphia, PA 19107
215-545-0008

In Re:
                                                            Case No.:       19-30999

                                                            Chapter:        13
                    James E. Theisen
                                                            Hearing Date:   9/8/2020 @ 10AM

                                                            Judge:          ABA



 MOTION TO RECONSIDER THE JULY 14, 2020 DENIAL OF THE MOTION
    TO OBJECT TO CLAIMS OF OVATION SALES FINANCE TRUST


         Comes Now, James E. Theisen, hereinafter referred to as “Debtor” and move this

Honorable Court to reconsider its July 14, 2020 Denial the Debtor’s Motion to Object to

Claims of Ovation Sales Finance Trust and in support thereof aver the following:

         1.     The above captioned bankruptcy matter was filed as a Chapter 13 on or

about November 6, 2019.

         2.     The Chapter 13 bankruptcy matter was assigned case number 19-30999.

         3.     On or about May 11, 2020, the Debtor filed a Motion to Object to the

Claim of Ovations Sales Finance Trust.

         4.     The Debtor’s Motion was denied on or about July 14, 2020 for failure to

comply with R. 3007.

         5.     The Motion and supporting documents were served at the address listed on

the Proof of Claim on or about May 11, 2020 and June 15, 2020 without response.

         5.     The certificate of service was served on Service Finance Company acting

as Attorney in Fact for Ovation Sales Trust but failed to name the filer.
       6.      Counsel has served the instant Motion with the Motion to Object and

supporting documents on the filer named on Proof of Claim 6-1.

       7.      The Debtor by and through his counsel, humbly request this Court

reconsider its denial of the Motion to Object to Claims of Ovation Sales Finance Trust.

       WHEREFORE, for the reasons stated herein, the Debtor respectfully requests

that this Honorable Court Reconsider its July 14, 2020 denial of the Motion.




Dated: August 7, 2020                               /s/Brad J. Sadek, Esq
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